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                       IN THE UNITED STATES DISTRICT COURT in. H L
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division                         III I QQf ~ g 2019
UHURU BARAKA ROWE,                                                               I cllkk.u.s.DisTRicTCQiipr
                                                                                 I———_R[CHMONn \M

       Plaintiff,

V.                                                                       Civil Action No. 3:19CV418

GREGORY HOLLOWAY,e/ aL,

       Defendants.


                                   MEMORANDUM ORDER
                               (Conditionally Docketing Action)

       Plaintiff, a Virginia inmate, has submitted this civil action. He also has applied to proceed

informa pauperis. It is ORDERED that:

        1.     This action is CONDITIONALLY docketed.

       2.      Within thirty (30) days from the date of entry hereof. Plaintiff must submit a

statement under oath or under penalty of perjury that:

              (A)     Identifies the nature ofthe action;
              (B)     States his belief that he is entitled to relief;
              (C)      Avers that he is unable to prepay fees or give security
                      therefor; and,
              (D)     Includes a statement of the assets he possesses.

The Court is forwarding to Plaintiffan affidavit for compliance with the above procedures. Failure

to complete the affidavit in its entirety will result in summary dismissal of the action.

       3.      The Clerk shall obtain a certified copy of Plaintiffs trust fund account for the six

(6) month period immediately preceding the initiation of this action.

       4.      Plaintiff must affirm his intention to pay the entire $350.00 filing fee. Accordingly,

he is required to read, sign, and return to the Court the enclosed consent to collection offees form

within thirty(30) days of the date of entry hereof.
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       5.      Failure to comply strictly with any of the above time requirements will result in

summary dismissal of the action. See Fed. R. Civ. P. 41(b).

       6.      Plaintiffneed not comply with paragraphs 1 through 5 if he submits the full $350.00

filing fee, a $50.00 administrative fee, and withdraws his request to proceed in forma pauperis

within thirty (30) days of the date of entry hereof.

       7.      Plaintiff is prohibited from filing any other pleadings, motions, memoranda, or

material not specifically required herein or otherwise specifically ordered by the Court until he is

granted leave to proceed informa pauperis or pays the full filing fee. Any documents submitted

in violation of this paragraph will not be considered. Moreover, Plaintiff is REQUIRED to write

the case number on any submission.

       8.      Each submission must bear the appropriate civil action number for the case to which

it pertains. If Plaintiff has more than one action pending and Plaintiff fails to identify a case

number on any submission, the Court will only docket that submission in the earliest filed case.

Plaintiff may also not submit one single response to comport with the directives of the Court in

more than one individual case. Instead, Plaintiff must submit a separate response for each

individual action. If Plaintiff attempts to submit one response listing a group of case numbers,the

Court will only docket that submission in the first-listed civil action on that submission. The Court

will not consider the submission as a response in any other civil action.

       9.      The Court DOES NOT ACCEPT documents or pleadings submitted on paper that

exceeds 81/2 inches by 11 inches in size, or that contains writing on the reverse side of a page.

ANY SUBMISSION MADE IN VIOLATION OF THIS PARAGRAPH WILL NOT BE

CONSIDERED BY THE COURT.
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       10.    Plaintiff must immediately advise the Court of his new address in the event that he

is transferred, released, or otherwise relocated while the action is pending. FAILURE TO DO

SO WILL RESULT IN DISMISSAL OF THE ACTION.


       11.    All correspondence for the Court shall be directed to: Spottswood W.Robinson III

and Robert R. Merhige, Jr., Federal Courthouse, 701 East Broad Street, Richmond, VA 23219.

       The Clerk is DIRECTED to send a copy of this Memorandum Order to Plaintiff.

       It is so ORDERED.
                                                                   /s/   /
                                                   Roderick C. Young
                                                   United States Magistrate Judge
Date: October (j .2019
Richmond, Virginia
